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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


  MATTHEW LAROSIERE,

                Plaintiff,

  v.                                                   Case No. 6:24-cv-1629-WWB-LHP

  CODY RUTLEDGE WILSON, ET AL.,

                Defendant.
                                          /

                                          ORDER

          THIS CAUSE is before the Court on periodic review of the case. The Court entered

  an Order directing the parties to advise the Court on the selection of a mediator on or

  before February 18, 2025 (Doc. 59). As of today, the parties have not complied, and a

  mediator has not been selected.

          Therefore, it is ORDERED that Donna M. Doyle is appointed as Mediator in this

  case.

          DONE AND ORDERED in Orlando, Florida on April 15, 2025.




  Copies furnished to:

  Counsel of Record
  Unrepresented Parties
